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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1
                                 Eastern Division

Scientel Solutions, LLC
                                  Plaintiff,
v.                                                    Case No.: 1:17−cv−00937
                                                      Honorable Joan B. Gottschall
Richard Seiff
                                  Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, March 2, 2017:


         MINUTE entry before the Honorable Joan B. Gottschall: The proposed redactions
received in chambers on 2/23/17 and 2/24/17 are approved. Plaintiff has limited redactions
to material identifying current and potential clients and projects, and after reviewing the
parties' papers, the court finds that good cause exists to maintain that information under
seal. Enter defendant's redacted papers. Plaintiff shall file redacted papers by 3/3/3/17.
Should the identity of any of these clients or projects be publicly disclosed, the parties
must advise the court and file new versions of these papers unsealing the publicly
disclosed client or project. Mailed notice(mjc, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
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